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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  The United States of America,                      :
                                                     :
                 Plaintiff,                          :   CIVIL ACTION NO. 1:23-CV-01999-
         v.                                          :   RDB
                                                     :
  Carahsoft Technology Corp.,                        :
                                                     :
                 Defendant.                          :
                                                     :
                                                     :
                                                     :

 THE UNITED STATES’ OPPOSITION TO CARAHSOFT’S MOTION TO SEAL THE
     MOTION TO SET ASIDE CIVIL INVESTIGATIVE DEMAND NO. 24-754

       The United States opposes Carahsoft’s motion (ECF 65) to seal and prevent public access

to its motion (ECF 64) to set aside civil investigative demand (“CID”) No. 24-754. In deference

to the Court, the United States filed its opposition to ECF 64 under seal. ECF 67. However, the

United States believes this Court should unseal ECF 67 as well or, in the alternative, to unseal

copies with the redaction of the information that merits protection.

       The Court should deny Carahsoft’s motion to seal for it impinges on the presumptive

right of public access to judicial proceedings. See Co. Doe v. Pub. Citizen, 749 F.3d 246, 265-66

(4th Cir. 2014) (recognizing that the First Amendment includes a right of public access to court

proceedings and records); United States v. Wecht, 484 F.3d 194, 207-08 (3d Cir. 2007) (“[I]t is

well-settled that there exists, in both criminal and civil cases, a common law public right of

access to judicial proceedings and records.”). Carahsoft’s generalized claim of “confidential and

commercially sensitive information,” ECF 65 at 2, is inadequate to overcome the presumption

and does not meet the related requirement that “[a]ny motion seeking the sealing of pleadings . . .
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or other documents . . . shall include (a) proposed reasons supported by specific factual

representations to justify the sealing and (b) an explanation why alternatives to sealing would

not provide sufficient protection.” L.R. 105.11 (emphasis added).

       Carahsoft cannot satisfy L.R. 105.11 because it has not pointed to a single specific

passage in its motion to set aside the CID that contains “confidential and commercially sensitive

information related to Carahsoft and its business partners.” ECF 65 at 2. Additionally,

Carahsoft has offered no explanation as to why an alternative to sealing would not provide

sufficient protection against the harms it alleges, which the Court previously recognized was a

necessary consideration. See ECF 55. (“The Court must also consider ‘less drastic alternatives to

sealing the documents.’”) (quoting Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000)).

       During the recent filing of the Ninth Joint Status Report in this matter, when Carahsoft

asked the United States to consent to file under seal, the United States offered a less drastic

alternative, recommending that Carahsoft “remove or de-identify” the names of third parties that

it believes would justify sealing the pleading. Email from V. Vaccarella to Samarth Barot, Bill

Lawler, & Rick Conway, Aug. 1, 2024. Carahsoft declined, and moved to seal the pleading

instead. ECF 63 (Carahsoft’s motion to seal the Ninth Joint Status Report).

       The United States respectfully asks this Court to deny Carahsoft’s motion on the

pleadings or to require Carahsoft to provide redacted copies for public access.



August 28, 2024                                       Respectfully submitted,

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                                                      EREK L. BARRON
                                                      United States Attorney
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